Case 6:20-cv-01227-MJJ-CBW Document 2 Filed 11/03/20 Page 1 of 2 PageID #: 13




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION


ASONGAFAC FERDINAND                                         CASE NO. 6:20-CV-01227
FOLEBE #AXXXXXXXX

VERSUS                                                                JUDGE JUNEAU

CHAD WOLF ET AL                             MAGISTRATE JUDGE WHITEHURST


                            MEMORANDUM ORDER

      Before the Court is the petition for writ of habeas corpus (28 U.S.C. §2241)

filed by pro se petitioner Asongafac Ferdinand Folebe on September 16, 2020.

      Petitioner is an immigration detainee in the custody of the Department of

Homeland Security/Bureau of Immigration and Customs Enforcement (DHS/ICE).

Petitioner asserts that the duration of his detention without parole or a bond hearing,

as well as the continued fact of that detention in light of respondents’ alleged failure

to sufficiently mitigate the risk of serious illness or death associated with COVID-

19, each violate his right to due process under the United States Constitution.

      However, as this Court’s review of Petitioner’s assertions turns on factors not

sufficiently alleged by the pleadings, the Court cannot determine at this time whether

Petitioner is entitled to the relief he seeks. Accordingly, Petitioner should amend his

complaint and provide a statement and/or documentation indicating (1) when and

where he entered the United States, and from what country; (2) any notice to appear
Case 6:20-cv-01227-MJJ-CBW Document 2 Filed 11/03/20 Page 2 of 2 PageID #: 14




that he received; (3) whether and when he has requested asylum; (4) whether and

when he has participated in a credible fear interview, and if so, the result of that

interview; (5) whether and when he has been ordered removed by an immigration

judge, and if so, a copy of the deportation/removal order; (6) whether and when he

appealed any removal order to the Board of Immigration Appeals (“BIA”); (7) the

status of his BIA appeal and a copy of the BIA’s decision, if applicable; (8) copies

of any notices of review of his custody status, including whether he has received any

bond hearing; (9) any medical documentation related to his current health conditions

that could impact his risk of serious illness or death if he were to contract COVID-

19; and (10) any additional information regarding his claim of unsafe conditions of

detention.

      IT IS ORDERED that Petitioner amend his complaint within thirty (30) days

of the filing of this Order to provide the information outlined above. Failure to

comply with this Order may result in dismissal of this action under Rule 41(b) or

16(f) of the Federal Rules of Civil Procedure.

      THUS DONE AND SIGNED in Lafayette, Louisiana, on this 3rd day of

November, 2020.



                                       _____ ______________________________
                                       MICHAEL J. JUNEAU
                                       UNITED STATES DISTRICT JUDGE


                                         2
